    Case 03-49230-RTL                 Doc 6 Filed 12/10/03 Entered 12/11/03 09:34:49                                  Desc Imaged
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FORM B9A (Chapter 7 Individual or Joint Debtor No Asset Case) (12/03)                                            Case Number 03−49230−RTL
                                     UNITED STATES BANKRUPTCY COURT
                                         DISTRICT of District of New Jersey
        Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines
       A Chapter 7 bankruptcy case concerning the debtor(s) listed below was filed on 12/4/03.

 You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
 All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below.
 NOTE: The staff of the bankruptcy clerk's office cannot give legal advice.
                                    See Reverse Side For Important Explanations.
 Debtor(s) (name(s) used by the debtor(s) in the last 6 years, including married, maiden, trade, and address):
 Spiro Michals
 aka Spiros T Michals
 77 Forest Avenue
 Rumson, NJ 07760−0000
 Social Security Number(s)/Taxpayer ID(s):                               United States Bankruptcy Judge:
 xxx−xx−0427 ( Spiro Michals)                                            Honorable Raymond T. Lyons Jr.
 Attorney for Debtor(s) (name and address):                              Trustee:
 Spiro Michals                                                           Daniel E. Straffi, Trustee
 77 Forest Avenue                                                        670 Commons Way
 Rumson, NJ 07760−0000                                                   Building I
 Telephone number: 732−530−6650                                          Toms River, NJ 08755
                                                                         Telephone number: (732) 341−3800
                                                                         The United States Trustee, Region 3 appoints the above_named
                                                                         individual as interim trustee as of the date of the filing of the
                                                                         bankruptcy petition.

                                                       Meeting of Creditors:
 Date: December 30, 2003                                        Time: 04:00 PM
 Location: Clarkson S. Fisher Federal Courthouse, Room 129, 402 East State St., Trenton, NJ 08608−1507

                                                                Deadlines:
                             Papers must be received by the bankruptcy clerk's office by the following deadlines:

         Deadline to File a Complaint Objecting to Discharge of the Debtor or to Determine Dischargeability of Certain Debts:
                                                                    3/1/04

                                                  Deadline to Object to Exemptions:
                                        Thirty (30) days after the conclusion of the meeting of creditors.

                                        Creditors May Not Take Certain Actions:
 The filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the debtor's property.
 If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be penalized.

              Please Do Not File a Proof of Claim Unless You Receive a Notice To Do So.
 Address of the Bankruptcy Clerk's Office:                                                        For the Court:
 402 East State Street                                                   Clerk of the Bankruptcy Court:
 Trenton, NJ 08608                                                       James J. Waldron
 Telephone number: 609−989−2200
 Business Hours:                                                         Date: 12/8/03
 8:30 AM − 4:00 p.m., Monday − Friday (except holidays)
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                                                           EXPLANATIONS                                                        FORM B9A (12/03)

Proof of Identification Important notice to individual debtors: Effective March 1, 2002, all individual debtors must provide picture
and Social Security     identification and proof of social security number to the trustee at the meeting of creditors. Failure to do so may
Number                  result in your case being dismissed.


Filing of Chapter 7      A bankruptcy case under chapter 7 of the Bankruptcy Code (title 11, United States Code) has been filed in this court
Bankruptcy Case          by or against the debtor(s) listed on the front side, and an order for relief has been entered.


Creditors May Not        Prohibited collection actions are listed in Bankruptcy Code §362. Common examples of prohibited actions include
Take Certain Actions     contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or
                         obtain property from the debtor; repossessing the debtor's property; starting or continuing lawsuits or foreclosures;
                         and garnishing or deducting from the debtor's wages.


Meeting of Creditors     A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                         in a joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors
                         are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date
                         without further notice.


Do Not File a Proof of There does not appear to be any property available to the trustee to pay creditors. You therefore should not file a
Claim at This Time     proof of claim at this time. If it later appears that assets are available to pay creditors, you will be sent another notice
                       telling you that you may file a proof of claim, and telling you the deadline for filing your proof of claim.


Discharge of Debts       The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may
                         never try to collect the debt from the debtor. If you believe that the debtor is not entitled to receive a discharge under
                         Bankruptcy Code §727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code §523(a)(2), (4),
                         (6), or (15), you must start a lawsuit by filing a complaint in the bankruptcy clerk's office by the "Deadline to File a
                         Complaint Objecting to Discharge of the Debtor or to Determine Dischargeability of Certain Debts" listed on the
                         front side. The bankruptcy clerk's office must receive the complaint and the required filing fee by that Deadline.
                         Writing a letter to the court or the judge is not a substitute for the filing of an adversary complaint.


Exempt Property          The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                         to creditors. The debtor must file a list of all property claimed as exempt. You may inspect that list at the bankruptcy
                         clerk's office. If you believe that an exemption claimed by the debtor is not authorized by law, you may file an
                         objection to that exemption. The bankruptcy clerk's office must receive the objection by the "Deadline to Object to
                         Exemptions" listed on the front side.


Bankruptcy Clerk's       Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed
Office                   on the front side. You may inspect all papers filed, including the list of the debtor's property and debts and the list of
                         the property claimed as exempt, at the bankruptcy clerk's office.


Legal Advice             The staff of the bankruptcy clerk's office cannot give legal advice. You may want to consult an attorney to protect
                         your rights.


                          −− Refer to Other Side for Important Deadlines and Notices −−
Undeliverable Notices. Undeliverable notices will be sent by return mail to the debtor. It is the debtor's responsibility to obtain the
party's correct address, resend the returned notice, and notify this office of the party's change of address. Failure to provide all parties with a
copy of this notice may adversely affect the debtor as provided by the Bankruptcy Code.
Case information − telephone access. Case summary information can be obtained from any touch tone telephone by calling the
automated Voice Case Information System (VCIS) at the toll free number: 1−877−239−2547. This service is free of charge and is available
24 hours a day.
Case information − electronic access. Case summary and docket information can be obtained from the Public Access to Court
Electronic Records (Pacer) System. To register or for more information, please call the Pacer Billing Center at 1−800−676−6856 or visit the
Pacer Web Site: http://pacer.psc.uscourts.gov.
Internet access.   Additional information may be available at the Court's Web Site: http://www.njb.uscourts.gov.
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 Enterprise Systems Incorporated
 11487 Sunset Hills Road
                                   CERTIFICATE OF SERVICE
 Reston, Virginia 20190-5234

 District/off: 0312-3                 User: mweldon                       Page 1 of 1                         Date Rcvd: Dec 08, 2003
 Case: 03-49230                       Form ID: b9a                        Total Served: 9

 The following entities were served by first class mail on Dec 10, 2003.
 db        +Spiro Michals,   77 Forest Avenue,    Rumson, NJ 07760-1619
 tr         Daniel E. Straffi, Trustee,    670 Commons Way,    Building I,   Toms River, NJ 08755
 smg        U.S. Attorney,   970 Broad St.,    Room 502,    Rodino Federal Bldg.,   Newark, NJ 07102-2534
 smg        United States Trustee,   Office of the United States Trustee,     One Newark Center,   Suite 2100,
               Newark, NJ 07102
 505582164 New Century Financial Services,     Pressler and Pressler,    16 Wing Drive,   Cedar Knolls, NJ 07927
 505582165 Roy Baker,    PO Box 483,    Clarksburg, NJ 08510
 505582167 Spiros T Michals,    Michals and Michals, Esqs,     58 Rector Place,   Red Bank, NJ 07701
 505582166 State of New Jersey,    Division of Taxation,     PO Box 281,   Trenton, NJ 08695-0281
 The following entities were served by electronic transmission on Dec 09, 2003 and receipt of the transmission
 was confirmed on:
 505582163 EDI: IRS.COM Dec 09 2003 10:24:00      Internal Revenue Service,   Department of the Treasury,
               PO Box 724,   Springfield, NJ 07081-0724
                                                                                             TOTAL: 1
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                              TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Service and that it is true and correct to the best of my information and belief.

First Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.




Date: Dec 10, 2003                                      Signature:
